Case TXE/2:24-cv-00261 Document 9-1 Filed 05/09/24 Page 1 of 2




 EXHIBIT A
        Case TXE/2:24-cv-00261 Document 9-1 Filed 05/09/24 Page 2 of 2




               BEFORE THE UNITED STATES JUDICIAL PANEL ON
                       MULTIDISTRICT LITIGATION


In re: AT&T Inc. Customer Data Security         MDL NO. 3114
Breach Litigation


                               SCHEDULE OF ACTIONS

Daniel Allen Hossley                            Gilbert S. Keteltas
Texas State Bar No. 00792591                    BAKER HOSTETLER, LLP
HOSSLEY EMBRY, LLP                              1050 Connecticut Ave., N.W., Suite 1100
515 S. Vine                                     Washington, D.C. 20036
Tyler, Texas 75702                              Telephone: (202) 861-1530
Telephone: (903) 526-1772                       Email: gketeltas@bakerlaw.com
allen@hossleyembry.com                          Counsel for Defendant AT&T, Inc in
sherry@hossleyembry.com                         CASE #: 2:24-cv-00261

Christopher L. Ayers
Jennifer R. Scullion
Justin M. Smigelsky
SEEGER WEISS LLP
55 Challenger Road, 6th Floor
Ridgefield Park, New Jersey 07660
Telephone: (973) 639-9100
jscullion@seegerweiss.com
cayers@seegerweiss.com
jsmigelsky@seegerweiss.com

James E. Cecchi
Kevin G. Cooper
Jordan M. Steele
CARELLA BYRNE CECCHI
BRODY & AGNELLO, P.C.
5 Becker Farm Road
Roseland, New Jersey 07068
Telephone: (973) 994-1700
jcecchi@carellabyrne.com
kcooper@carellabyrne.com
jsteele@carellabyrne.com

Counsel for Plaintiff Mary Loechel Sanford in
CASE #: 2:24-cv-00261
